
605 S.E.2d 472 (2004)
359 N.C. 197
STATE of North Carolina
v.
Michael Lemark WARD.
No. 68A99-2.
Supreme Court of North Carolina.
October 27, 2004.
Terry W. Alford, Spring Hope, Margaret Lumsden, for Michael Lemark Ward.
Valerie B. Spalding, Senior Deputy Attorney General, William Graham, District Attorney, for State.

ORDER
Upon consideration of the petition filed by Defendant on the 22nd day of October 2004 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:

*473 "Denied by order of the Court in conference, this the 27th day of October 2004."
Upon consideration of the petition filed by Defendant on the 22nd day of October 2004 in this matter for a writ of certiorari to review the order of the Superior Court, Halifax County, the following order was entered and is hereby certified to the Superior Court of that County:
"Denied by order of the Court in conference, this the 27th day of October 2004."
Upon consideration of the petition filed by Defendant on the 22nd day of October 2004 in this matter for a writ of mandamus, the following order was entered and is hereby certified to the Superior Court, Halifax County:
"Denied by order of the Court in Conference this the 27th day of October 2004."
